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UNITED STATES COURT OF INTERNATIONAL TRADE                                                FORM 1

 VECOPLAN, LLC

                                  Plaintiff,                          SUMMONS
           v.                                                         Court No. 20-126

 UNITED STATES,
                                  Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        /s/ Mario Toscano
                                                       Clerk of the Court


                                                PROTEST
 Port of
 Entry:      Norfolk, VA                               Date Protest
                                                       Filed:         Jun. 21, 2019
 Protest
 Number:        140119100462                           Date Protest
                                                       Denied:
                                                                      2/10/2020

 Importer:      Vecoplan, LLC
 Category of
 Merchandise:
                  Grinding Machines

                           ENTRIES INVOLVED IN ABOVE PROTEST
      Entry             Date of            Date of         Entry                  Date of          Date of
     Number              Entry           Liquidation      Number                   Entry         Liquidation
 322-1911616-1         8/12/2018         7/12/2019




                                                       Lawrence M. Friedman
Port Director,                                         Barnes, Richardson & Colburn
                                                       303 East Wacker Drive, Suite 305
Port of Norfolk-Newport News                           Chicago, IL 60601
101 East Main Street                                   312 297-9554
                                                       lfriedman@barnesrichardson.com
Norfolk, VA 23510
Address of Customs Port in                                Name, Address, Telephone Number
Which Protest was Denied                                  and E-mail Address of Plaintiff's Attorney
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                            CONTESTED ADMINISTRATIVE DECISION

                                      Appraised Value of Merchandise
                                            Statutory Basis                             Statement of Value

 Appraised:




 Protest Claim:



                                        Classification, Rate or Amount
                                            Assessed                                       Protest Claim
                         Paragraph or                                         Paragraph or
    Merchandise          Item Number                          Rate            Item Number                    Rate
 Industrial             8479.89.9499                  2.5%                   8479.82.0080               Free
 grinding
 machines




                                             Other
 State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:



 The issue which was common to all such denied protests:
  Classification of grinding machines.

Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                              ______________________________________________
                                                                 Signature of Plaintiff's Attorney
                                              July 8, 2020
                                              __________________________________________________________
                                                                   Date
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                                           SCHEDULE OF PROTESTS
         Norfolk, VA
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation

140119100459             6/14/2019       2/10/2020       322-1908168-8     8/3/2018           6/28/2019
140119100458             6/14/2019       2/10/2020       791-1563554-7     7/30/2018          6/21/2019
140119100444             6/7/2019        2/10/2020       791-1563137-1     6/7/2018           6/7/2019
140119101007             12/27/2019      2/10/2020       791-1953971-1     11/7/2018          9/27/2019
140120101109             1/13/2020       2/10/2020       791-1955266-4     12/21/2018         11/22/2019
140120101127             1/16/2020       2/10/2020       791-1956604-5     2/21/2019          1/10/2020
140120101142             1/20/2020       2/10/2020       791-1956772-0     2/18/2019          1/17/2020




 Port Director of Customs,
                                                             If the port of entry shown
                                                             above is different from the
                                                             port of entry shown on the
                                                             first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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                                           SCHEDULE OF PROTESTS
         Baltimore, MD
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation

130320100594 1/10/2020                   2/10/2020       791-1954679-9 12/3/2018              10/25/2019
130320100596 1/13/2020                   2/10/2020       791-1954997-5 12/11/2018             11/8/2019




 Port Director of Customs,
                                                             If the port of entry shown
  Port of Baltimore                                          above is different from the
  40 South Gay Street                                        port of entry shown on the
  Baltimore, MD 21202                                        first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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         Los Angeles, CA SCHEDULE OF PROTESTS
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation

270420108853 1/13/2020                   2/10/2020       791-1956218-4 1/28/2019              12/20/2019




 Port Director of Customs,
                                                             If the port of entry shown
  Port of Los Angeles/Long Beach                             above is different from the
  301 East Ocean Blvd.                                       port of entry shown on the
  Suite 1400                                                 first page of the summons,
  Long Beach, CA 90802                                       the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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                                           SCHEDULE OF PROTESTS
         NY/Newark
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation

460119106591 11/4/2019                   2/10/2020       791-1953960-4 11/1/2018              9/272019




 Port Director of Customs,
                                                             If the port of entry shown
  Port of New York/Newark                                    above is different from the
  1210 Corbin Street                                         port of entry shown on the
  Elizabeth, NJ 07201                                        first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
